Case 2:04-cr-20330-SH|\/| Document 82 Filed 05/17/05 Page 1 of 2 Page|D 102

IN THE UNITED STATES DISTRICT COURH£DQLH M…_* ~UW

FOR TI'IE WESTER.N DISTRICT OF TEN'NESSEE

 

 

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\A?L§ "{i ._i..;; l ng[F:F;H\S
UNITED STATES oF AMERICA, ) "
)
Plaintiff, )
)
vs. ) CR. NO. 04~20330-Ma
)
sAMMIE FoRD, )
sHIRLEY FORD, )
RICKY BROWN, )
)
Defendants. j

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on April 21, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning June 6, 2005 at 9:30 a.m., with a
report date of Tuesday, May 31, 2005 at 2:00 p.m.

The period fronl April 21, 2005 through June l7, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

7J»<
IT IS SO ORDERED this l day of May, 2005.

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SAMUEL H. MAYS, JR.
U'NITED STATES DIS'I‘RICT JUDGE

 

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This notice confirms a copy of the document docketed as number 82 in
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Honorable Samuel Mays
US DISTRICT COURT

